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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Melissa Nelson
                                   Plaintiff,
v.                                                     Case No.: 1:16−cv−03491
                                                       Honorable Andrea R. Wood
Ashford University, LLC.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 23, 2017:


        MINUTE entry before the Honorable Andrea R. Wood: The parties having filed a
stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) [46], this case is
dismissed without prejudice and with each party to bear its own attorneys' fees and costs.
All pending hearing dates and motions are stricken. Civil case terminated. Mailed
notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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